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                                  UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLUMBIA



 SUSMAN GODFREY LLP,

                     Plaintiff,

           v.
                                                            Civil Action No. 25 - 1107 (LLA)
 EXECUTIVE OFFICE OF THE
 PRESIDENT, et al.,

                     Defendants.



                                               ORDER

          Upon consideration of the parties’ Joint Status Report, ECF No. 27, it is hereby

ORDERED that the injunction, ECF No. 15, issued by this court on April 15, 2025, and all

restrictions and obligations imposed therein, shall be EXTENDED by agreement of all parties,

see ECF No. 27, at 2; Fed. R. Civ. P. 65(b)(2), until final judgment is entered in this matter; it is

further

          ORDERED that, in accordance with the parties’ joint proposal for an expedited briefing

schedule on dispositive motions, the parties shall file dispositive motions according to the

following schedule:

          (1) On or before April 23, 2025, the parties shall file any dispositive motions and opening

                briefs in support;

          (2) On or before April 30, 2025, the parties shall file any oppositions;

          (3) On or before May 5, 2025, the parties shall file any replies; and

          (4) A motions hearing, if necessary, will be scheduled for May 8, 2025 at 2:00 p.m. in

                Courtroom 21.
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      SO ORDERED.




                                          LOREN L. ALIKHAN
                                          United States District Judge
Date: April 16, 2025




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